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                        Exhibit 11
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                                     U.S. Patent No. 7,339,490 – Infringement Claim Chart


                Claim 1                                       Exemplary Evidence of Infringement by Digital Realty
[1pre] A modular sensor assembly for       Digital Realty’s data centers use a modular sensor assembly for sensing a condition at a
sensing a condition at a computer rack,    computer rack.
comprising:
                                           For example, Digital Realty uses Vigilent’s cooling optimization tools in all of its U.S. data
                                           centers, which uses modular sensor assemblies for sensing conditions such as temperature at a
                                           computer rack.




                                           https://www.vigilent.com/digital-realty/




                                                             Page 1
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Claim 1                                Exemplary Evidence of Infringement by Digital Realty




                     https://www.vigilent.com/who-we-serve/by-facility/data-centers/




                     https://www.vigilent.com/digital-realty-decreases-data-center-cooling-energy-usage-by-66/



                                       Page 2
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Claim 1                                Exemplary Evidence of Infringement by Digital Realty




                     https://www.vigilent.com/products-and-services/dynamic-control/




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Claim 1                                 Exemplary Evidence of Infringement by Digital Realty




                     https://www.vigilent.com/wp-content/uploads/2014/06/DigitalRealty.pdf

                     Digital Realty also uses Vertiv and Liebert cooling in its U.S. data centers to control
                     atmospheric conditions. On information and belief, Digital Realty’s Liebert cooling units are
                     used in conjunction with Liebert’s modular sensors, which are used to sense conditions such as
                     temperature, humidity, and door-open status at a computer rack.




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Claim 1                                Exemplary Evidence of Infringement by Digital Realty




                     https://www.vertiv.com/en-us/products/brands/liebert/




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Claim 1                              Exemplary Evidence of Infringement by Digital Realty




                     https://www.youtube.com/watch?v=OmV1SFy5cEg at 1:43.




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Claim 1                             Exemplary Evidence of Infringement by Digital Realty




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                Claim 1                                      Exemplary Evidence of Infringement by Digital Realty




                                           https://www.vertiv.com/49782f/globalassets/shared/liebert-sn-modular-sensors-quick-start-
                                           guide_00.pdf
[1a] a) an elongate flexible body,         Digital Realty’s modular sensor assemblies comprise an elongate flexible body, configured to
configured to attach to a computer rack;   attach to a computer rack.
                                           For example, Digital Realty uses Vigilent’s cooling optimization. The figure below shows
                                           Vigilent’s cooling optimization system uses thermistors with an elongate flexible body
                                           configured to attach to a computer rack:




                                                             Page 8
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Claim 1                                  Exemplary Evidence of Infringement by Digital Realty




                      https://www.vigilent.com/products-and-services/dynamic-control/
                      Digital Realty also uses Liebert cooling units with Liebert sensors. Liebert modular sensors
                      attached in a strong consist of an elongate flexible body that attaches to a computer rack frame,
                      rail, or door.




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Claim 1                                 Exemplary Evidence of Infringement by Digital Realty




                      https://www.vertiv.com/49782f/globalassets/shared/liebert-sn-modular-sensors-quick-start-
                      guide_00.pdf




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                 Claim 1                                         Exemplary Evidence of Infringement by Digital Realty




                                              https://www.vertiv.com/4a84b9/globalassets/shared/liebert-sn-sensors-monitoring-for-business-
                                              critical-continuity2.pdf
[1b] b) a plurality of addressable sensors,   Digital Realty’s modular sensor assemblies comprise a plurality of addressable sensors,
disposed along the body and                   disposed along the body and interconnected to a common connector wire.
interconnected to a common connector
wire; and                                     For example, Digital Realty uses Vigilent’s cooling optimization. The figure below shows
                                              Vigilent uses a plurality of addressable sensors disposed along the body and interconnected to a
                                              common connector wire, which in turn connects to the wireless network device:




                                                                Page 11
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Claim 1                                  Exemplary Evidence of Infringement by Digital Realty




                      https://www.vigilent.com/products-and-services/dynamic-control/
                      Digital Realty also uses Liebert cooling units with Liebert sensors. Liebert modular sensors are
                      disposed along the body and interconnected to a common connector wire (string) and are
                      addressable.




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                Claim 1                                        Exemplary Evidence of Infringement by Digital Realty
                                            https://www.vertiv.com/49782f/globalassets/shared/liebert-sn-modular-sensors-quick-start-
                                            guide_00.pdf

[1c] c) a connector wire lead, configured   Digital Realty’s modular sensor assemblies comprise a connector wire lead, configured to
to interconnect the connector wire to a     interconnect the connector wire to a central system configured to receive and interpret data from
central system configured to receive and    the plurality of sensors relating to conditions associated with the computer rack.
interpret data from the plurality of
sensors relating to conditions associated   For example, Digital Realty uses Vigilent’s cooling optimization. The figure below shows
with the computer rack.                     Vigilent’s wireless network gateway is hardwired to the AI Engine and Web-Based System
                                            access via a network switch. The network gateway receives data from all inlet temperature
                                            sensors, return temperature and the discharge air temperature of the CRAC.




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Claim 1                                 Exemplary Evidence of Infringement by Digital Realty




                      https://www.vigilent.com/products-and-services/dynamic-control/
                      Digital Realty also uses Liebert cooling units with Liebert sensors. Liebert modular sensors
                      string at each computer rack is interconnected to a central system (network) to receive and
                      interpret the sensors from multiple computer racks. The networked sensor system is configured
                      with thresholds for alarm and warning triggers.



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Claim 1                                 Exemplary Evidence of Infringement by Digital Realty




                      https://www.vertiv.com/4a84b9/globalassets/shared/liebert-sn-sensors-monitoring-for-business-
                      critical-continuity2.pdf




                      https://www.vertiv.com/49782f/globalassets/shared/liebert-sn-modular-sensors-quick-start-
                      guide_00.pdf




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